Case 8:18-cv-00557-JLS-DFM Document 55 Filed 12/18/18 Page 1 of 10 Page ID #:983



      ____________________________________________________________________________
                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

  Case No. 8:18-cv-00557-JLS-DFM                                         Date: December 18, 2018
  Title: Michelle Hunt et al. v. Sunny Delight Beverages Co. et al.

      Present: Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

          Terry Guerrero                                                   N/A
          Deputy Clerk                                                Court Reporter

  ATTORNEYS PRESENT FOR PLAINTIFF:                 ATTORNEYS PRESENT FOR DEFENDANT:

                   Not Present                                        Not Present

  PROCEEDINGS: (IN CHAMBERS) ORDER GRANTING DEFENDANT’S
               MOTION FOR SANCTIONS (Doc. 42) AND DENYING
               PLAINTIFFS’ MOTION TO STRIKE (Doc. 47)

         Before the Court is Defendant Sunny Delight Beverages Co.’s Motion for
  Sanctions. (Mot., Doc. 42; Mem., Doc. 42-1.) Plaintiffs Michele Hunt and Malika Jones
  opposed. (Opp., Doc. 49.) Defendant replied. (Reply, Doc. 50.) On December 14,
  2018, the Court held a hearing on the Motion. For the reasons given below, the Court
  GRANTS Defendant’s Motion. 1

I.         Background

         Defendant manufactures and sells beverage products (the “Products”) throughout
  California and the United States. (First Amended Complaint, Doc. 19 ¶¶ 28-30.) Some
  of Defendant’s Products bear names derived from fruits, such as “Orange Strawberry,”
  “Orange Pineapple,” “Strawberry Guava,” and “Watermelon.” (Id. ¶¶ 12-20.) Other
  Products have names that are not directly derivative of particular fruits, such as “Smooth
  & Sweet” or “Blue Raspberry.” (Id. ¶ 151.) Plaintiffs allege that they purchased
  Defendant’s Products in Los Angeles County for personal consumption. (Id. ¶¶ 31-32.)
  Specifically, Plaintiff Hunt alleges that she purchased several different varieties of the
  1
    On November 1, 2018, Plaintiffs filed a Motion to Strike Defendant’s Answer and Affirmative
  Defenses. (Doc. 47.) No opposition or reply has yet been filed. As described below, however,
  that motion is now moot and therefore DENIED.
  ______________________________________________________________________________
                                CIVIL MINUTES – GENERAL                                      1
Case 8:18-cv-00557-JLS-DFM Document 55 Filed 12/18/18 Page 2 of 10 Page ID #:984



   ____________________________________________________________________________
                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

  Case No. 8:18-cv-00557-JLS-DFM                                      Date: December 18, 2018
  Title: Michelle Hunt et al. v. Sunny Delight Beverages Co. et al.
  Products as recently as November 2017, including the “Orange Pineapple” variety. (Id.
  ¶¶ 129-131.) Plaintiff Jones alleges that she also purchased several of the Products as
  recently as November 2017, including the “Orange Strawberry” and “Orange Pineapple”
  varieties. (Id. ¶¶ 132-134.)
          On April 2, 2018, Plaintiffs filed the instant lawsuit on behalf of themselves and a
  class of similarly situated individuals. (Compl., Doc. 1.) On May 31, 2018, Plaintiffs
  filed their First Amended Complaint, alleging claims for (1) fraud, Cal. Civ. Code §§
  1709-1710; (2) negligent misrepresentation, Cal. Civ. Code §§1709-1710; (3) violation of
  the California Consumers Legal Remedies Act, Cal. Civil Code § 1750, et seq.; (4)-(5)
  two counts of violations of California’s Unfair Competition Law, Cal. Bus. & Prof. Code
  §17200, et seq.; (6) violation of California’s False Advertising Law, Cal. Bus. & Prof.
  Code § 17500, et seq.; (7) breach of express warranties, Cal. Comm. Code § 2313; and
  (8) breach of implied warranties, Cal. Comm. Code § 2314. (FAC ¶¶ 173–258.)
          Plaintiffs’ claims center on alleged omissions and misrepresentations on the
  Products’ labels. (See, e.g., id. ¶¶ 34, 38, 40-51.) In particular, Plaintiffs allege that,
  although the Products’ labels bear the names and depictions of fruit, none of the Products
  “contain any or all of the actual juices from the displayed fruits.” (Id. ¶ 39.) Plaintiffs
  allege that the following photos are true and accurate representations of the “Orange
  Strawberry” and “Orange Pineapple” Products’ labels:




  ______________________________________________________________________________
                           CIVIL MINUTES – GENERAL                            2
Case 8:18-cv-00557-JLS-DFM Document 55 Filed 12/18/18 Page 3 of 10 Page ID #:985



   ____________________________________________________________________________
                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

  Case No. 8:18-cv-00557-JLS-DFM                                      Date: December 18, 2018
  Title: Michelle Hunt et al. v. Sunny Delight Beverages Co. et al.




  (Id. ¶ 10.)
          Regarding the “Orange Strawberry” Product, Plaintiff alleges that:

         “As shown in [the image], above, the “Orange Strawberry” flavor Product’s
         label shows life-like pictorial representations of fresh, ripe, whole
         strawberries . . . The “Orange Strawberry” Product, however, contains no
         actual strawberries or strawberry juice. It is flavored with “natural and
  ______________________________________________________________________________
                           CIVIL MINUTES – GENERAL                            3
Case 8:18-cv-00557-JLS-DFM Document 55 Filed 12/18/18 Page 4 of 10 Page ID #:986



      ____________________________________________________________________________
                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

  Case No. 8:18-cv-00557-JLS-DFM                                        Date: December 18, 2018
  Title: Michelle Hunt et al. v. Sunny Delight Beverages Co. et al.
           artificial flavors” to mimic the flavor of strawberries . . . Defendant fails to
           disclose this on the Product’s front label.”

   (Id. ¶¶ 35-38.)
          Similarly, Plaintiff alleges that the “Orange Pineapple” and “[a]ll the other flavor-
  variety Products . . . are flavored to resemble the named and pictured natural fruit(s), but
  do not contain any or all of the actual juices from the displayed fruits.” (Id. ¶ 39.) They
  further allege that Defendant does not disclose this fact on the Products’ labels. (See id.
  ¶¶ 135, 137, 150-152.)
          On July 5, 2018, Defendant moved to dismiss the First Amended Complaint. 2
  (MTD, Doc. 26; Mem. to MTD, Doc. 26-1.) At that time Defendant sought to introduce
  evidence that the images of the “Orange Strawberry” and “Orange Pineapple” Products
  included in the First Amended Complaint are not in fact true and accurate depictions of
  those Products’ labels. (See Mem. to MTD at 7; Borden Decl. to MTD, Doc. 26-2 ¶ 5.)
  Plaintiffs argued, however, and the Court agreed, that consideration of such evidence was
  improper at the pleading stage; the Court declined to take judicial notice of Defendant’s
  evidence. (Opp. to MTD, Doc. 27 at 8-9; Order Denying MTD, Doc. 37 at 4.) Instead,
  the Court accepted Plaintiffs’ allegations as true, including the accuracy of the disputed
  image. (Order Denying MTD at 6.) Relying on Plaintiffs’ representations, the Court
  denied Defendant’s motion to Dismiss. (Id. at 6-7, 10-11.)
          Defendant now moves for Rule 11 sanctions against Plaintiffs, alleging that
  Plaintiffs defrauded the Court by knowingly including inaccurate images of the “Orange
  Strawberry” and “Orange Pineapple” Products’ labels in the First Amended Complaint
  and inducing the Court to rely on such images and related allegations in its consideration
  of Defendant’s motion to dismiss. (Mem. at 3-5.) Defendant re-proffers the evidence it
  attempted to submit with its motion to dismiss, namely, images of the purported actual
  labels of the “Orange Strawberry” and “Orange Pineapple” Products that include much, if
  not all, the information that Plaintiffs allege is unlawfully missing, including disclosures


  2
   This was Defendant’s second motion to dismiss. Defendant’s first motion to dismiss (Doc. 15.)
  was mooted by the withdrawal of a co-defendant and Plaintiffs’ filing of the First Amended
  Complaint. Unless otherwise noted, the discussion herein refers to the second motion to dismiss.
  ______________________________________________________________________________
                               CIVIL MINUTES – GENERAL                                         4
Case 8:18-cv-00557-JLS-DFM Document 55 Filed 12/18/18 Page 5 of 10 Page ID #:987



   ____________________________________________________________________________
                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

  Case No. 8:18-cv-00557-JLS-DFM                                      Date: December 18, 2018
  Title: Michelle Hunt et al. v. Sunny Delight Beverages Co. et al.
  that the Products are “artificially flavored.” (Mem. at n. 1; Mem. to MTD at 7; Borden
  Decl. to MTD ¶ 5).
          Defendant also submits corroborating evidence in the form of a declaration from
  Defendant’s Chief Marketing Officer, who attests:

         “Sunny Delight changes its labels from time to time. While it is unknown
         exactly when the Plaintiffs in this case claim to have bought their products,
         Sunny Delight has never sold a product labeled as the ones [depicted in] the
         First Amended Complaint are labeled. Sunny Delight product labels have
         always included more information about the products than shown in [the
         FAC]. The images in [the FAC] that Plaintiffs claim are the true labels they
         read and relied on are actually just images from an old version of Sunny
         Delight’s website. Those were stylized images used on the website only.
         They lack numerous details on the actual labels because people looking at
         the website have trouble reading all the things that are on the actual labels
         given the size of the images. Sunny Delight has never sold any products
         with the labels reflected in [the FAC].”

  (Gerbo Decl., Doc. 42-11 ¶ 2.) Defendant’s Chief Marketing Officer further attests that,

         “[f]or at least the last 5 years, Orange Strawberry has contained the
         language ‘artificially flavored citrus punch’ right next to the fruit images on
         the front of the label. If Plaintiffs bought Orange Strawberry within the last
         five years, the beverage they purchased would have had a front-of-pack
         statement explaining that the beverage contained artificial ingredients.”

  (Id. ¶ 7.)
          Finally, Defendant submits deposition testimony from Plaintiff Jones and Plaintiff
  Hunt confirming that the disputed images embedded in the First Amended Complaint are
  not in fact “true and accurate representations” of the labels Plaintiff Jones or Plaintiff
  Hunt actually purchased. (Jones Dep. Tr., Doc. 50-2 at 84:2-85:23, 90:1-92:19; Hunt
  Dep. Tr., Doc. 50-3 at 158:3-160:9, 169:18-171:6.) Rather, their testimony corroborates
  Defendant’s assertions that the disputed images are merely stylized renderings of the
  labels ripped from Defendant’s website. (Id.) Moreover, Plaintiff Jones and Plaintiff
  ______________________________________________________________________________
                           CIVIL MINUTES – GENERAL                            5
Case 8:18-cv-00557-JLS-DFM Document 55 Filed 12/18/18 Page 6 of 10 Page ID #:988



      ____________________________________________________________________________
                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

  Case No. 8:18-cv-00557-JLS-DFM                                      Date: December 18, 2018
  Title: Michelle Hunt et al. v. Sunny Delight Beverages Co. et al.
  Hunt admit that they were solicited to bring this lawsuit by Plaintiffs’ counsel, who
  intimated to them that the stylized online labels were identical to the in-store labels on the
  Products Plaintiffs had purchased; neither Plaintiff Jones nor Plaintiff Hunt could fully
  recall the actual contents of the labels on the purchased Products. (Jones Dep. Tr. at
  71:1-77:7; Hunt Dep. Tr. at 48:10-49:1.)
          Plaintiffs do not meaningfully contest Defendant’s version of the facts. Rather,
  Plaintiffs argue that their claims still have merit notwithstanding Defendant’s cited
  disclosures on the “Orange Strawberry” and “Orange Pineapple” Products’ labels. (Opp.
  at 5-10.)

II.        Legal Standard

          It is within the Court’s discretion whether to impose an award of sanctions
  pursuant to Rule 11. See, e.g., Cooter & Gell v. Hartmarx Corp., 496 U.S. 384, 400
  (1990) (“[I]n directing the district court to impose an ‘appropriate’ sanction, Rule 11
  itself indicates that the district court is empowered to exercise its discretion.”). Conduct
  sanctionable under Rule 11 includes presenting to the Court “a pleading, written motion,
  or other paper . . . for any improper purpose, such as to harass, cause unnecessary delay,
  or needlessly increase the cost of litigation.” Fed. R. Civ. P. 11(b)(1). Sanctions may
  also be imposed for presenting “claims, defenses, and other legal contentions [not]
  warranted by existing law or by a nonfrivolous argument for extending, modifying, or
  reversing existing law or for establishing new law.” Fed. R. Civ. P. 11(b)(2). Similarly,
  sanctions may be appropriate for presenting “factual contentions [that] have [no]
  evidentiary support or . . . will [not] likely have evidentiary support after a reasonable
  opportunity for further investigation or discovery.” Fed. R. Civ. P. 11(b)(3). Violations
  are determined by an objective standard. In re Keegan Management Co., Securities
  Litigation, 78 F.3d 431, 434 (9th Cir. 1996); Zaldivar v. City of Los Angeles, 780 F.2d
  823, 831 (9th Cir. 1986) (“Rule 11 sanctions shall be assessed if the paper filed in district
  court and signed by an attorney or an unrepresented party is frivolous, legally
  unreasonable, or without factual foundation, even though the paper was not filed in
  subjective bad faith.”). “A sanction imposed under this rule must be limited to what

  ______________________________________________________________________________
                           CIVIL MINUTES – GENERAL                            6
 Case 8:18-cv-00557-JLS-DFM Document 55 Filed 12/18/18 Page 7 of 10 Page ID #:989



        ____________________________________________________________________________
                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES – GENERAL

       Case No. 8:18-cv-00557-JLS-DFM                                      Date: December 18, 2018
       Title: Michelle Hunt et al. v. Sunny Delight Beverages Co. et al.
       suffices to deter repetition of the conduct or comparable conduct by others similarly
       situated.” Fed. R. Civ. P. 11(c)(4).

III.          Discussion

              A.      Sanctionable Conduct

               On the record before it, the Court finds that Plaintiffs and their counsel knowingly
       made false factual contentions in their First Amended Complaint, including the allegation
       that the embedded image is a “true and accurate representation” of Defendant’s “Orange
       Strawberry” and “Orange Pineapple” Products’ labels (FAC ¶ 10), as well as numerous
       allegations that likewise incorrectly describe those Products’ labels in ways that are
       central to the claims in the litigation. (See, e.g., id. ¶¶ 35-38, 135, 137, 150-152). These
       falsehoods were not the product of reasonable mistake and were not mere inaccuracies
       that would “likely have [had] evidentiary support after a reasonable opportunity for
       further investigation or discovery.” Fed. R. Civ. P. 11(b)(3).
               Plaintiffs’ counsel acknowledged at the hearing that they based the First Amended
       Complaint on the labels depicted on Defendant’s website, not on the labels on the actual
       Products. That approach might have been acceptable had Plaintiffs purchased the
       Products based on a website image, but they did not. These were in-store purchases, and
       the only relevant labels are the ones on the purchased Products themselves. It is apparent
       that Plaintiffs’ counsel did not undertake the most fundamental of investigations—
       namely, examining the actual Product labels—before filing the First Amended
       Complaint. Moreover, after Defendant informed Plaintiffs that the website did not
       accurately depict the actual Product labels, Plaintiffs’ counsel had the opportunity to
       acknowledge the inaccuracy in the First Amended Complaint, inform the Court, and
       remedy the misrepresentation. Instead they compounded the problem, arguing that
       Plaintiffs’ taken-as-true allegations that the Products at issue lacked front-facing




       ______________________________________________________________________________
                                CIVIL MINUTES – GENERAL                            7
Case 8:18-cv-00557-JLS-DFM Document 55 Filed 12/18/18 Page 8 of 10 Page ID #:990



      ____________________________________________________________________________
                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

  Case No. 8:18-cv-00557-JLS-DFM                                          Date: December 18, 2018
  Title: Michelle Hunt et al. v. Sunny Delight Beverages Co. et al.
  disclaimers precluded dismissal. Such conduct wasted the time and resources of
  Defendant and this Court. And it is sanctionable under Rule 11. 3

           B.    Appropriate Sanctions

          Defendant seeks dismissal with prejudice and attorneys’ fees for (1) preparing the
  instant motion; (2) preparing its first motion to dismiss; (3) preparing its second motion
  to dismiss; and (4) case analysis, investigation, correspondence, client communications
  and other litigation activities. (Mot. at 1; Borden Decl. ¶ 14.)
          Striking the First Amended Complaint is appropriate. “Since its original
  promulgation, Rule 11 has provided for the striking of pleadings and the imposition of
  disciplinary sanctions to check abuses in the signing of pleadings.” Fed. R. Civ. P. 11 at
  Notes of Advisory Committee on Rules – 1983 Amendment; and see id. at Notes of
  Advisory Committee on Rules – 1993 Amendment (“The court has available a variety of
  possible sanctions to impose for violations, such as striking the offending paper.”).
  Striking the entire First Amended Complaint is appropriate because Plaintiffs’
  sanctionable misrepresentations taint the entire pleading. The Court will not parse
  through Plaintiffs’ allegations to determine which, if any, are salvageable, unimplicated
  by Plaintiffs’ dishonesty, and rightly should have survived Defendant’s motion to
  dismiss. Nor will it require Defendant to do the same on another motion to dismiss or
  motion to strike. It would be manifestly unjust to allow this case to proceed on the First
  Amended Complaint against Defendant having arrived at the current posture on false
  premises. Moreover, allowing the First Amended Complaint to survive would not deter
  Plaintiffs’ “conduct or comparable conduct by others similarly situated” because it would
  gift Plaintiffs the benefits of discovery, favorable Orders and other gains made in this
  action through dishonesty. Fed. R. Civ. P. 11(c)(4).

  3
    Plaintiffs note that Defendant did not attempt to meet and confer prior to filing its Motion, as
  required by C.D. Cal. R. 7-3. (Opp. at 11.) Pursuant to Rule 11, however, Defendant served the
  Motion and supporting papers on Plaintiffs more than 21 days prior to presenting it to the Court.
  (Borden Decl., Doc. 42-2 ¶ 11; Ex. 6 to Borden Decl., Doc. 42-8.) Here, Rule 11 subsumes the
  otherwise applicable Local Rule and certainly provides Plaintiffs with “the substance of the
  contemplated motion and any potential resolution” well in advance. C.D. Cal. R. 7-3.
  ______________________________________________________________________________
                                  CIVIL MINUTES – GENERAL                                           8
Case 8:18-cv-00557-JLS-DFM Document 55 Filed 12/18/18 Page 9 of 10 Page ID #:991



   ____________________________________________________________________________
                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

  Case No. 8:18-cv-00557-JLS-DFM                                      Date: December 18, 2018
  Title: Michelle Hunt et al. v. Sunny Delight Beverages Co. et al.
          Such striking, however, is without prejudice. Despite the inaccuracies in the First
  Amended Complaint, Plaintiffs contend that at least some of their claims still have merit.
  (Opp. 8-10.) Indeed, “[t]he Court [did] not decide whether the presence of [Defendant’s
  front-facing] disclaimer would, as a matter of law, preclude Plaintiffs from asserting
  claims that they were misled by the labels.” (Order Denying MTD at n. 3.) More
  importantly, the Court is wary of “confus[ing] the issue of attorney honesty with the
  merits of the action,” as sanctions are meant to address only the former. Fed. R. Civ. P.
  11 at Notes of Advisory Committee on Rules – 1993 Amendment. Hence, just as the
  Court does not sift through the First Amended Complaint to determine if any allegations
  are divorced from Plaintiffs’ misconduct and retain merit, neither does wade into the
  merits to find that each and every claim is forever prejudiced by the newly-revealed facts.
  Accordingly, Plaintiffs may file a Second Amended Complaint, to the extent they are
  able to do so in compliance with Rule 11. Until such time, discovery and all other
  proceedings in this cased are stayed. Failure to timely file a compliant pleading will
  result in dismissal of the action.
          But striking without prejudice does not entirely fulfill the deterrent purpose of
  Rule 11 sanctions, as a “do-over” may provide little disincentive to the filing of dishonest
  pleadings. Therefore, monetary sanctions are also appropriate, including an award to
  Defendant of reasonable attorneys’ fees. Fed R. Civ. P. 11(c)(4). Such an award,
  however, “should not exceed the expenses and attorneys’ fees for the services directly
  and unavoidably caused by the violation.” Fed. R. Civ. P. 11 at Notes of Advisory
  Committee on Rules – 1993 Amendment. Here, preparation of the instant Motion and
  Defendant’s second motion to dismiss are clearly traceable to Plaintiffs’ misconduct; the
  misrepresented labels formed the core of the dispute and were the primary basis for the
  Court’s Order. (See Order Denying MTD.) As discussed above, however, the Court does
  not find, at this stage, that the misrepresentations at issue in this Motion necessarily
  render the entire suit frivolous or vexatious. Therefore, fees for general casework or
  preparation of the first motion to dismiss (which focused primarily on jurisdictional
  issues), are not warranted. Accordingly, the Court awards Defendant attorneys’ fees
  associated with preparation of the instant Motion and the second motion to dismiss, in an
  amount to be determined. The Court will make such a determination upon receipt of
  further evidence, as described below.
  ______________________________________________________________________________
                           CIVIL MINUTES – GENERAL                            9
Case 8:18-cv-00557-JLS-DFM Document 55 Filed 12/18/18 Page 10 of 10 Page ID #:992



       ____________________________________________________________________________
                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES – GENERAL

      Case No. 8:18-cv-00557-JLS-DFM                                        Date: December 18, 2018
      Title: Michelle Hunt et al. v. Sunny Delight Beverages Co. et al.
IV.          Conclusion

             For the foregoing reasons, Defendant’s Motion is GRANTED. The First
      Amended Complaint is STRICKEN without prejudice. Any Second Amended Complaint
      must be filed no later than twenty-one (21) days from the date of this Order. Until such
      time, discovery and all other proceedings in this case are STAYED. The January 4, 2019
      hearing on Plaintiffs’ Motion to Strike Defendant’s Answer and Affirmative Defenses
      (Doc. 47) is VACATED, and the motion is DENIED as moot.
             Defendant is further ORDERED to submit, no later than seven (7) days from the
      date of this Order, billing records or other detailed accounting of the attorney time spent
      preparing the second motion to dismiss and the instant Motion, as well as competent
      evidence supporting the rates claimed therefor. Although the Court will not entertain re-
      argument as to whether sanctions should be awarded, within five (5) days thereafter,
      Plaintiffs may file any objection to the reasonableness of the amount of fees requested.
      At such time, the question of the amount of monetary sanctions and fees to be awarded
      shall be deemed under submission.




                                                                   Initials of Preparer: tg




      ______________________________________________________________________________
                               CIVIL MINUTES – GENERAL                            10
